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18
                                 UNITED STATES DISTRICT COURT
19
                                     DISTRICT OF ARIZONA
20
     Mark Brnovich, et al.,                            No. 2:21-cv-01568-MTL
21
                   Plaintiffs,
22         v.                                          JOINT STIPULATION
      Joseph R. Biden, et al.                          REGARDING CLAIMS AGAINST
23                                                     CITY OF PHOENIX
                   Defendants.
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 1          Pursuant to the discussion during the status conference on December 14, 2021 and
 2   the Court’s subsequent minute entry, the Parties hereby stipulate to the following:
 3
             Plaintiffs PLEA and Local 493 are asserting Counts I, IV, and VI against
 4
 5             Defendant City of Phoenix. No other Plaintiffs are asserting claims against the

 6             City of Phoenix.
 7
            Plaintiffs PLEA and Local 493 seek declaratory relief from this Court that the
 8
 9   Contractor Mandate is unconstitutional and unlawful under Counts I, IV, and VI. Plaintiffs

10   PLEA and Local 493 take the position that under the Declaratory Judgment Act, 28 U.S.C.
11
     § 2201(a), “any court of the United States, upon the filing of an appropriate pleading, may
12
     declare the rights and other legal relations of any interested party seeking such declaration,
13
14   whether or not further relief is or could be sought.” (See Doc. 70 at 69 ¶¶ A and D (invoking
15   28 U.S.C. § 2201)).
16
            It is the position of Plaintiffs PLEA and Local 493 that the City of Phoenix is a
17
18   proper relief defendant, and that the test for whether a defendant is a proper relief defendant

19   under 28 U.S.C. § 2201 is whether the court “would have jurisdiction had the declaratory
20
     relief defendant been a plaintiff seeking a federal remedy.” Standard Ins. Co. v. Saklad,
21
22   127 F.3d 1179, 1181 (9th Cir. 1997); accord Hornish v. King Cty., 899 F.3d 680, 691 n.4

23   (9th Cir. 2018). Plaintiffs PLEA and Local 493 contend that because the City of Phoenix
24
     is subject to the Contractor Mandate and would thus have standing to seek a federal remedy,
25
     it is properly named as a relief defendant. Plaintiffs PLEA and Local 493 are asserting
26
27   these claims against Phoenix as a relief defendant only; they do not allege that Phoenix is
28   liable under or has breached the duties alleged in Counts I, IV, or VI.


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 1          The City of Phoenix does not concede that the above claims state a claim for relief

 2   against the City of Phoenix, that the City is a proper defendant, or that the Court has
 3
     jurisdiction.
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 1          RESPECTFULLY SUBMITTED this 17th day of December, 2021.
 2
 3   MARK BRNOVICH
     ATTORNEY GENERAL
 4   By: /s/ James K. Rogers           _
     Joseph A. Kanefield (No. 15838)
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     the State of Arizona
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     WILENCHIK & BARTNESS PC                                 OSBORN MALEDON, P.A.
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11   By: /s/ Jack Wilenchik (with permission)                By: /s/Joshua D. Bendor (with permission)
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      Case 2:21-cv-01568-MTL Document 128 Filed 12/17/21 Page 5 of 5




 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that on this 17th day of December, 2021, I electronically filed the
 3   foregoing with the Clerk of the Court for the United States District Court for the District of
 4   Arizona using the CM/ECF filing system. Counsel for all Defendants, who have appeared,
 5
     are registered CM/ECF users and will be served by the CM/ECF system pursuant to the
 6
     notice of electronic filing.
 7
 8                                               /s/ James K. Rogers                  _
 9                                              Attorney for Plaintiff Mark Brnovich, in his official
                                                capacity as Attorney General of Arizona; and the State of
10                                              Arizona
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